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                         UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA
                                     Miami Division

                               Case Number: 20-22721-CIV-MORENO

   MARIO HERNANDEZ,

                  Plaintiff,
   vs.

   CHARLOTTE BURROWS, Chair of the Equal
   Employment Opportunity Commission,

               Defendant.
  _________________________________________/

                         FINAL ORDER OF DISMISSAL AND
                  ORDER DENYING ALL PENDING MOTIONS AS MOOT

         THIS CAUSE came before the Court upon Notice of Settlement (D.E. 129), filed on May

  19, 2022. It is ADJUDGED that in light of the parties settling this action, this case is DISMISSED

  in accordance with the settlement agreement. The Court shall retain jurisdiction for six months to

  enforce the terms of the settlement agreement. It is also ADJUDGED that all pending motions are

  DENIED as moot.

         DONE AND ORDERED in Chambers at Miami, Florida, this 2nd of June 2022.




                                       ______________________________________
                                             FEDERICO A. MORENO
                                             UNITED STATES DISTRICT JUDGE

  Copies furnished to:

  Counsel of Record
